                                                                       SIGNED.


                                                                       Dated: April 21, 2021


   1
   2                                                                  _________________________________
                                                                      Paul Sala, Bankruptcy Judge
   3                             IN THE UNITED STATES BANKRUPTCY COURT
                                    IN AND FOR THE DISTRICT OF ARIZONA
   4
       InRe                                               ) In Proceedings Under
   5
                                                          ) Chapter 11
   6   CHARITY TOWING & RECOVERY,                         )
       LLC,                                               ) Case No. 2:20-bk-11598 PS
   7                                                      )
   8                                                      )   ORDER CONFIRMING THE
                                                          )   DEBTOR'S CHAPTER 11
   9                                                      )   (SUBCHAPTER V) PLAN·OF
                                        Debtor.           )   REORGANIZATION
  10
                                                          )
  11
                  A Chapter 11 (Subchapter V) Plan of Reorganization under Chapter Eleven
  12
       (Subchapter V) of the Bankruptcy Code, having been filed by the Debtor, the matter
  13

  14   having been duly noticed as evidenced by the Affidavit of Mailing on file with the

  15   Court; the matter having come on for hearing and no objections having been timely
  16
       filed, and good cause appearing;
  17
                  It having been determined after hearing and notice that:
  18
  19              1.         The requirements set forth in §1129(a), §1190 and §1191 are satisfied

  20   and the Court finds that the Plan is consensual under §1191(a).
  21
                  2.         Because the Plan is consensual, the Debtor shall make payments under
  22
       the Plan directly to creditors. The Subchapter V Trustee's services will be terminated
  23
       upon the substantial consummation of the Plan pursuant to §1183( c)(1) and the Debtor
 24

  25   shall file a Notice of Substantial Consummation with the Court not later than 14 days

  26   after the Plan is substantially consummated, and serve this notice on the Subchapter V
  27
  28
       Charity Towing & Recovery, lLC
       2-20-bk-11598 PS
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   1   Trustee, the United States Trustee, and all parties in interest, pursuant to §1183( c)(2),
   2
       when the Debtor achieves substantial consummation of the Plan.
   3
                   3.         Because the Plan is consensual, the Plan discharges the Debtor at the
   4

   5   time of confirmation.

   6               IT IS ORDERED that the Chapter 11 (Subchapter V) Plan of Reorganization

   7   filed by the Debtor, Charity Towing & Recovery, LLC, is hereby CONFIRMED and a
   8
       DISCHARGE is hereby entered subject to the following terms and conditions:
   9
                   Unclassified Claims. Debtor's Counsel, Allan D. NewDelman shall have an
  10
  11   administrative claim in the amount approved by the Court after submission of the

  12   appropriate Application.               Currently, the total amount of attorneys fees owed is
  13
       $29,550.00 subject to an offset against retainer of $0.00 leaving a balance of
  14
       $29,550.00. These Administrative attorney's fees, as approved by the Court, shall be
  15
  16   paid as provided for in the Disbursement Schedule attached hereto and incorporated

  17   herein by reference as Exhibit "A" .
  18               In addition, the Chapter 11, Subchapter V Trustee, subject to Court approval,
  19
       shall have an administrative expense claim as set forth in the Plan. Should the Debtor
  20
       be unable to provide payment of the Chapter 11 Trustee's fees on the Plan Distribution
  21
  22   Date, said fees shall be paid either as provided for in the Disbursement Schedule

  23   attached hereto and incorporated herein by reference as Exhibit "A", or as otherwise
  24
       agreed between the SubChapter V Trustee and the Debtor.
  25
                   On November 2, 2020 an Order was entered approving the employment of TL
  26
  27   Reedy, PLLC as the accounting professional was entered by the Court. Pursuant to that

  28
       Charity Towing & Recovery, U..C
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   1   Order the accounting professional has been paid based upon the fixed fee schedule
   2
       contained within the Application to Employ filed at Docket Number 21.
   3
                  Beacon Funding (Class 1)
   4

   5              Creditor Beacon Funding was listed on Debtor's Schedule D as a secured

   6   creditor. The contract between the Debtor and Beacon Funding for the 2017 Dodge
   7   5500 (along with a 2011 Century 10 Series Rollback), is a lease and shall provided for
   8
       under the provision covering Executory Contracts.
   9
                  Beacon Funding (Class 2)
  10
  11              Creditor Beacon Funding was listed on Schedule D as a secured creditor. The

  12   contract between the Debtor and Beacon Funding for the 2015 Ford F-650 (along with
  13
       the Jerr-Dan 21' Steel Shank Bed) is a lease and shall provided for under the provision
  14
       covering Executory Contracts.
  15
  16              Secured Claim- Eastern Funding- Claim 11-1 (Class 3)

  17              Creditor is secured by a 2008 Dodge 5500, Eastern Funding, has obtained Stay
  18   Relief and has taken possession of its collateral. Its claim, estimated to be $96,448.70,
  19
       shall be classified and treated as a general unsecured claim as stated in Class 9.
  20
                  TBF Financial. LLC- Claim 2-1 (Class 4)
  21
  22              The Debtor has filed an Adversary Proceeding against Creditor TBF Financial,

  23   LLC, Adversary Case Number 2-21-ap-00073 (the "Adversary Proceeding").                 The
  24
       Adversary Proceeding asserts that the secured claim of this creditor should be treated as
  25
       a general unsecured claim. Should this Court enter a judgment against the creditor, said
  26
  27   claim shall be paid as provided for in Class 9. To the extent that this Court determine

  28
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   1   that there is any value to the secured claim, the Debtor and the Creditor will enter into a
   2
       Stipulation for Plan Treatment, properly noticed to all creditors and subject to the
   3
       approval of this Court.
   4
   5              Secured Tax Claim- Internal Revenue Service - Claim 3-2 (Class 5).

   6              The Internal Revenue Service ("IRS") shall have a secured claim in the amount
   7   of $88,017.84. The IRS's secured claim shall be paid with interest at the statutory rate
   8
       set forth in I.R.C. §§6621 and 6622 that is in effect during the month that the Plan is
   9
       confirmed, as required by 11 U.S.C. §511. This secured amount shall be paid as
  10
  11   provided for in the Disbursement Schedule attached hereto and incorporated herein by

  12   reference as Exhibit "A".
  13
                  All payments shall be made payable to the Internal Revenue Service and sent to
  14
       the following address:
  15
  16                                           David G. Schuetz
                                               Internal Revenue Service
  17                                           4041 North Central Avenue
                                               MS 5014
  18                                           Phoenix, AZ 85012-5000
  19
                  The Debtor's failure to comply with the Plan provisions concerning the liability
  20
       owed to the IRS which includes, but not limited to, the failure to make the full and
  21
  22   timely payments of all amounts due under the Confirmation Order, except as provided

  23   for in a Court ordered moratorium, as well as full and timely payments of all amounts
  24
       due for post-confirmation periods, shall constitute a default of the Plan. If the Debtor
  25
       fails to cure the default within ten (10) days after written notice of the default from the
  26
  27   IRS or its agents is mailed to the Debtor and the Debtor's attorney, the entire imposed

  28
       Charity Towing & Recovery, LLC
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       Order Confirming                                    4



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   1   liability together with any unpaid current liabilities, shall become due and payable
   2
       immediately. Further, in the event of a default, the IRS may collect unpaid liabilities
   3
       through administrative collection provisions or the judicial remedies as set forth in the
   4
   5   Internal Revenue Code. The IRS shall not be required to seek modification of the

   6   automatic stay to collect any tax liabilities that were not discharged by the confirmation

   7   of the Plan and from property that has been revested with the Debtor.
   8
                  Unsecured Priority Tax Claim - Internal Revenue Service - Claim 3-2 (Class 6).
   9
                  The Internal Revenue Service ("IRS") shall have a priority unsecured claim in
  10
  11   the amount of $96,275.51. The IRS's priority claim shall be paid with interest at the

  12   statutory rate set forth in I.R.C. §§6621 and 6622 that is in effect during the month that
  13
       the Plan is confirmed, as required by 11 U.S.C. §511. This priority amount shall be paid
  14
       as provided for in the Disbursement Schedule attached hereto and incorporated herein
  15

  16   by reference as Exhibit "A".

  17              All payments shall be made payable to the Internal Revenue Service and sent to
  18   the following address:
  19
                                               David G. Schuetz
  20                                           Internal Revenue Service
                                               4041 North Central Avenue
  21
                                               MS 5014
  22                                           Phoenix, AZ 85012-5000

  23              The Debtor's failure to comply with the Plan provisions concerning the liability
  24
       owed to the IRS which includes, but not limited to, the failure to make the full and
  25
       timely payments of all amounts due under the Confirmation Order, except as provided
  26
  27   for in a Court ordered moratorium, as well as full and timely payments of all amounts

  28
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   1   due for post-confirmation periods, shall constitute a default of the Plan. If the Debtor
   2
       fails to cure the default within ten (10) days after written notice of the default from the
   3
       IRS or its agents is mailed to the Debtor and the Debtor's attorney, the entire imposed
   4
   5   liability together with any unpaid current liabilities, shall become due and payable

   6   immediately. Further, in the event of a default, the IRS may collect unpaid liabilities
   7   through administrative collection provisions or the judicial remedies as set forth in the
   8
       Internal Revenue Code. The IRS shall not be required to seek modification of the
   9
       automatic stay to collect any tax liabilities that were not discharged by the confirmation
  10
  11   of the Plan and from property that has been revested with the Debtor.

  12                Unsecured Priority Tax Claim - Arizona Department of Revenue (Class 7) -
  13
       Claim No. 1-2
  14
                   The Arizona Department of Revenue ("ADOR") shall have a priority claim in
  15
  16   the amount of $5,746.64 per amended claim. The ADOR's priority claim shall be paid

  17   with interest at the statutory rate as set forth in ARS § 42-1123(A), that is in effect
  18   during the month that the Plan is confirmed (currently 4%), as required by 11 U.S.C.
  19                                                                                           ·'
       §511. This priority amount shall be paid as provided for in the Disbursement Schedule
  20
       attached hereto and incorporated herein by reference as Exhibit "A".
  21
  22               All payments shall be made payable to the Arizona Department of Revenue

  23   and sent to the following address:
  24
                                               Office of the Attorney General
  25                                           Attn: Matthew Silverman, Esq.
                                               Bankruptcy & Collection Enforcement Section ·
  26                                           2005 North Central Avenue
  27                                           Phoenix, AZ 85004

  28
       Charily Towing & Recovery, lLC
       Z-20-t>k-ll S98 PS
       Order Confirming                                    6



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   1              The       failure to comply with the aforementioned and the Plan provisions
   2
       concerning the liability owed to the Arizona Department of Revenue which includes, but
   3
       is not limited to, the failure to make the full and timely payments, shall constitute a
   4

   5   default of the Plan. If the Debtor to cure the default within ten (10) days after written

   6   notice of the default from the Arizona Department of Revenue or its agents, to the
   7   Debtor and the counsel of record, the entire balance due the shall be immediately due
   8
       and owing. Further, in the event of a default, the Arizona Department of Revenue may
   9
       enforce the entire amount of its claim, exercise any and all rights and remedies under
  10
  11   applicable non-bankruptcy law which includes, but is not limited to, state tax collection

  12   procedures, and obtain any other such relief deemed appropriate by the Bankruptcy
  13
       Court. The Debtor shall have the opportunity to cure two (2) times over the life of the
  14
       Plan. In the event of a third default, the Arizona Department of Revenue. may proceed
  15
  16   with its state law remedies for collection of all amounts due under state law.     Debtor

  17   agrees to time file returns and to timely pay any liabilities owed post-confirmation
  18   including, but not limited to, withholding ("WTH"), and transaction privilege taxes
  19
       ("TPT") for the duration of the Plan.
  20
                  Unsecured Priority Tax Claim - Arizona Department of Economic Security
  21
  22   (Class 8 ) - Unemployment Tax Claims No. 9-1 and 10-1

  23              The Arizona Department of Economic Security ("ADES") shall have a priority
  24
       claim in the amount of$7,13 1.08. The ADES's priority claim shall be paid with interest
  25
       at 12% as required by 11 U.S.C. §511. This priority amount shall be paid as provided
  26
  27

  28
       Charily Towing & Recovery, LLC
       2-20-bk-11598 PS
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   1   for in the Disbursement Schedule attached hereto and incorporated herein by reference
   2
       as Exhibit " A".
   3
                  All payments shall be made payable to the Arizona Department of Economic
   4

   5   Security and sent to the following address:

   6                                           AZ Department of Economic Security
                                               P.O. Box 6028
   7                                           Phoenix, AZ 85005
   8
                  Unsecured Claims (Class 9)
   9
                  All non-insider allowed and approved claims under this Class shall be paid their
  10
  11   allowed claims from all funds available for distribution as set forth in the Disbursement

  12   Schedule attached hereto as Exhibit "A". This yield shall be reduced by the Court
  13
       approved administrative expense claim to Debtor's counsel and the Chapter 11 Trustee
  14
       to the extent that approved administrative expenses exceed those sums stated above.
  15
  16              The projected dividend listed below is to be paid over a period of forty-five (45)

  17   months, commencing in Month 5 of the Plan. In addition to the allowed administrative

  18   claims of Debtor's counsel and the Chapter 11 Trustee, the projected dividend may
  19
       change in the event that any creditor listed below files a proof of claim in an amount
  20
       different from the amount listed below.
  21
  22              The Debtor may pre-pay any amounts due any creditor in this Class prior to the

  23   due dates in the Plan of Reorganization without penalty and w ithout prior notice or
  24
       Court approval unless otherwise provided for in the Plan of Reorganization.
  25
  26
  27

  28
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   1              Class 9 shall be made up of the following creditors:
   2
       Creditor                                Claim       Claim                  Projected
   3   Name                                    No.         Amount                 Dividend

   4   ADOR (general)                          1-2         $    893.29            $    38.63
       TBF Financial                           2-1         $ 42,647.90            $ 1,844.40
   5
       IRS (general)                           3-1         $ 45,009.88            $ 1.946.55
   6   American Express                        4-1         $ 1,500.00             $    64.87
       Progressive Preferred Ins.              5-1         $107,896.55            $ 4,666.21
   7   Industrial Comm. of AZ                  6-2         $421,635.45            $18,234.52
   8   United States Trustee                   7-1         $ 5,226.11             $ 226.01
       Faez Mona/All Interstate                8-1         $407,713.53            $17,632.43
   9   Eastern Funding                         11-1        $ 96,448.70            $ 4,171.13
       Cellco PartnershipNerizon               12-1        $ 1,382.20             $    59.78
  10
       Kelly Guerra (insider)                  N/C         $ 18,009.42            $     0.00
  11   Ronald Guerra (insider)                 N/C         $ 34,604.66            $     0.00

  12   Totals                                              $1,130,353.61          $48,884.53
                                                           (w/out insiders)
  13

  14              Debtor's Interest (Class 10)

  15              Debtor shall retain all of lhe legal and equitable interest in assets of this estate, as
  16
       all reconciliation issues have been met. Property of the estate shall vest in the Debtor at
  17
       confirmation.
  18
  19              Disputed Claims:

  20              The Debtor reserves the right to verify and object to any proof of claim.
  21   Payment of disputed claims shall be made only after agreement has been reached
  22
       between the Debtor and the Creditor or upon the order of the Court. Any and all
  23
       objections to proofs of claim will be filed within sixty (60) days of the Effective Date of
  24

  25   this plan or will be waived. If any disputed claim is subsequently allowed by the Court

  26   such claim shall be paid under Class 9.
  27

  28

       Charily Towing & Recovery, LLC
       2·20-bk- 11598 PS
       Order Confirming                                   9


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   1              Executory Contracts
   2
                              The Debtor describes two unexpired leases on Schedule G. In addition,
   3
       the Beacon Funding Claims (as stated in Class 1 and 2 above) are leases. All leases
   4
   5   shall be assumed:

   6              Lessor                                     Property Description

   7              H&M Enterprises, Inc.                      3027 South 451h Street, Phoenix, AZ, 85040
   8              Allen Carpenter                            1840 South Country Club, Mesa, AZ 85210
                  Beacon Funding                             2017 Dodge 5500
   9              Beacon Funding                             2015 Ford F-650
  10
                   General Provisions:
  11
                   a.         Confirmation Date: The date in which the Court enters an Order
  12
  13
       confirming the Chapter 11 Plan of Reorganization.

  14               b.         Effective Date: The Effective Date of this Plan is fifteen (15) days after

  15   the entry of the Confirmation Order.
  16
                   c.         Distribution Date: The distribution date shall be thirty (30) days after the
  17
       Effective Date.
  18
  19               IT IS FURTHER ORDERED, that the Plan is Confirmed under the provisions of

  20   11 U.S.C. § 1191(a) therefore, Confirmation acts as a Discharge, effective the date of
  21
       Confirmation, of any and all dischargeable debts of the Debtor classified and receiving
  22
       distributions under the Plan that arose any time before the entry of the Order Confirming
  23
       Plan including, but not limited to, all principal and interest accrued thereon pursuant to
  24

  25   llU.S.C. §1141(d)(1) of the Bankruptcy Code.

  26               IT IS FURTHER ORDERED that it shall be the obligation of each creditor
  27
       participating under the Plan to keep the Debtor advised of its current mailing address. In
  28

       Charity Towing & Recovery, L.LC
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   1    the event any payments tendered to creditors are mailed, postage prepaid, addressed (1)
   2
        to the address specified in the Debtor,s schedules and statement, (2) to the address
   3
        specified in any proof of claim filed by a creditor or claimant herein or (3) to the address
   4
   5    provided by any such creditor or claimant for purposes of distribution, and if

   6   subsequently the Post Office returns such distribution due to a lack of insufficiency of
   7
        address or forwarding address, the Debtor shall retain such distribution for a period of
   8
       six (6) months. Thereafter, the distribution shall revert to the Debtor without further
   9
       Order of the Court and free and clear of any claim or the named distributee. The Debtor
  10
  11   shall thereafter not be required to mail subsequent distributions to any creditor for whom

  12   a distribution has been returned by the Post Office.
  13
                   IT IS FURTHER ORDERED that the Debtor may seek a Final Decree and an
  14
       Order Closing this Case upon the conclusion of all administrative matters, provided that
  15
  16   the Debtor has commenced payments required to be made pursuant to the Plan of

  17   Reorganization. Any Motion seeking a Final Decree shall certify that the Plan has been
  18
       substantially consummated.               Upon filing such a Motion containing the foregoing
  19
       certification, the appointment of the SubChapter V Trustee in this case shall, by
  20
       operation of 11 U.S.C. § 1183(c)(1), be terminated. All creditors shall remain bound
  21
  22   by the terms and conditions set forth in the Debtor's Chapter . 11 Plan of

  23   Reoraanization. No creditor shall be allowed to take any collection action a2ainst
  24
       the Debtor pertainin~: to any debt classified and/or receivint: distribution under the
  25
       Plan as Ion2 as the Debtor r emains in compliance with the Chapter 11 Plan of
  26
  27   Reor2anization.

  28              SIGNED AND DATED ABOVE.

       Charity Towing & Recovery. LLC
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  1   Order Confirming the Debtor's Chapter 11
  2   (Subchapter V) Plan of Reorganization
      as to form and content:
  3            See Next Page

  4   By:        Joseph Cotterman, Esq.
  5              Subchapter V Trustee

  6
      Mark Brnovich, Attorney General
  7         See Next Page
  8
      By:        Matthew Silverman, Esq.
  9              Assistant Attorney General
                 Attorneys for the State of Arizona
 10
                 ex rel. Arizona Department of Revenue
 11
      Charity Towing & Recovery, LLC
 12           See Next Page
 13
      By
 14   Kelly Guerra, Member

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      Charity Towing & Recovery, U£
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                              EXHIBIT "A"




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                                      CHARITY TOWING
                                              USBC
                     Distribution of Payments to Made Under Chapter 11 Plan


        Payment     ADN         Trustee       IRS             IRS         ADOR          DES         General       T otal
         Period     A dmin                  Secured         Priority      Priority     Priority                  Monthly
                    Claim                    Claim           Claim         Claim

                     4,306.00
        Month 2      4,306.00                                                                0.00
        Month 3        564.00                       0.00           0.00         0.00         0.00         0.00    1,592.00
        Month 4      4,192.00    1,400.00           0.00           0.00         0.00         0.00         0.00    5,592.00
        Month 5      5,814.00        0.00           0.00         776.00         0.00         0.00       330.00    6,920.00
        Month 6      1,865.00        0.00       2,067.00       1,799.00       137.00       187.00       865.00    6,920.00
        Month 7      1,865.00        0.00       2,067.00       1,799.00       137.00       187.00       865.00    6,920.00
        Month 8      1,865.00        0.00       2,067.00       1,799.00       137.00       187.00       865.00    6,920.00
        Month 9      1,773.00        0.00       2,067.00       1,799.00       137.00       187.00       957.00    6,920.00
        Month 10     1,000.00        0.00       2,067.00       1,799.00       137.00       187.00     1,730.00    6,920.00
        Month 11     1,000.00        0.00       2,067.00       1,799.00       137.00       187.00       740.00    5,930.00
        Month 12     1,000.00        0.00       2,067.00       1,799.00       137.00       187.00       740.00    5,930.00

     YEAR 1 TOTAU $29,550.00    $5,000.00    $14,469.00     $13,369.00     $959.00      $1,309.00    $7,092.00 $71,748.00




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                                      CHARITY TOWING
                                             USBC
                    Distribution of Payments to Made Under Chapter 11 Plan



        Payment     ADN        Trustee       IRS             IRS         ADOR
         Period     Admin                  Secured         Priority                   Priority              Monthly
                    Claim                   Qaim            Claim

                                               2,067.00       2,799.00                                       5,930.00
       Month 14                                2,067.00       2,799.00       137.00       187.00   740.00    5,930.00
       Month 15                    0.00        2,067.00       2,799.00       137.00       187.00   740.00    5,930.00
       Month 16                    0.00        2,067.00       2,799.00       137.00       187.00   740.00    5,930.00
       Month 17                    0.00        2,067.00       2,799.00       137.00       187.00   740.00    5,930.00
       Month 18                    0.00        2,067.00       2,799.00       137.00       187.00   740.00    5,930.00
       Month 19        0.00        0.00        2,628.00       3,558.00       174.00       235.00   622.00    7,217.00
       Month 20        0.00        0.00        2,628.00       3,558.00       174.00       235.00   622.00    7,217.00
       Month21         0.00        0.00        2,628.00       3,558.00       174.00       235.00   622.00    7,217.00
       Month 22        0.00        0.00        2,628.00       3,558.00       174.00       235.00   583.00    7,178.00
       Month 23        0.00        0.00        2,628.00       3,558.00       174.00       235.00   583.00    7,178.00
       Month 24        0.00        0.00        2,628.00       3,558.00       174.00       235.00   583.00    7;178.00

     YEAR 2 TOTAU     $0.00       $0.00      $28,170.00    $38,142.00    $1,866.00




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                                   CHARITY TOWING
                                           USBC
                  Distribution of Payments to Made Under Chapter 11 Plan



        Payment   ADN        Trustee       IRS             IRS         ADOR
         Period   Admin                  Secured         Priority      Priority      Priority     Uns. Creditors   Monthly
                  Claim                   Claim           Claim         Claim         Oaim          Class 11       Payment

                                             2,628.00       3,558.00                                                7,178.00
       Month 26      0.00        0.00        2,628.00       3,558.00       174.00                        583.00     7,178.00
       Month 27      0.00        0.00        2,628.00       3,558.00       17'1.00                       583.00     7,178.00
       Month 28      0.00        0.00        2,628.00       3,558.00       174.00        235.00          583.00     7,178.00
       Month 29      0.00        0.00        2,628.00       3,558.00       174.00        235.00          583.00     7,178.00
       Month 30      0.00        0.00        2,628.00       3,558.00       174.00        235.00          583.00     7,178.00
       Month 31      0.00        0.00        2,628.00       3,558.00       174.00        235.00          583.00     7,178.00
       Month 32      0.00        0.00        2,628.00       3,558.00       174.00        235.00          583.00     7,178.00
       Month 33      0.00        0.00        2,628.00       3,558.00       174.00        235.00          449.00     7,044.00
       Month 34      0.00        0.00        2,628.00       3,558.00       174.00        235.00          449.00
       Montb35       0.00        0.00        2,628.00       3,558.00       174.00        235.00          449.00
       Month 36      0.00        0.00        2,628.00

     YEAR3TOTAU                 $0.00      $31,536.00




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                                      CHARITY TOWING
                                             USBC
                    Distribution of Payments to Made Under Chapter 11 Plao



       Payment     ADN         Trustee       IRS            IRS          ADOR
        Period     Admin                   Secured         Priority      Priority     Priority     Uns. Creditors   Monthly
                   Claim                    Claim          Claim          Claim        Qaim          Class 11       Payment

                       0.00        0.00        2,628.00       3,558.00       174.00                                  7,044.00
       Month 38        0.00        0.00        2,628.00       3,558.00       174.00       235.08          448.92     7,044.00
       Month 39        0.00        0.00        2,628.00       3,558.00       174.00       452.00          232.00     7,044.00
       Month 40        0.00        0.00        2,628.00       3,558.00       174.00       261.00          423.00     7,044.00
       Month 41        0.00        0.00        2,628.00       1,621.49       174.00         0.00        2,620.51     7,044.00
       Month42         0.00        0.00          702.84         315.02        63.64         0.00        5,96250      7,044.00
       Month 43        0.00        0.00          533.00           0.00       292.00         0.00        6,219.00     7,044.00
       Month 44        0.00        0.00          774.50           0.00         0.00         0.00        6,269.50     7,044.00
       Month 45        0.00        0.00        3,092.50           0.00         0.00         0.00        4,653.10     7,745.60
       Month 46        0.00        0.00            0.00           0.00         0.00         0.00            0.00         0.00
       Month 47        0.00        0.00            0.00           0.00         0.00         0.00            0.00         0.00
       Month 48        0.00        0.00            0.00           0.00         0.00         0.00            0.00         0.00

     YEAR4TOTA.U      $0.00       $0.00     $18,242.84     $16,168.51    $1,225.64     $1,183.08      $27,277.53 $64,097.60



    GRAND TOTAU $2.9,550.00    $5,000.00    $92.,417.84   $110,375.51    $6,138.64     $7,844.08      $48,884.53 $300,210.60

                   29,550.00    5,000.00      92,417.84    110,375.51     6,138.64      7,844.08       48,884.53 300,210.60




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                                                              Ch arity Towing
                                                                  USBC
                                         Pro Rata Shar e for Unsecured C r editors in Class 9
                             RECAP - total dolla r s to each unsecured cr editor over life of Plan (45 months)


                                                    Claim       Amount of         Percentage        Total Plan    Amount to be      Yield to
                                       .   ~~
                                                    No.
                                                    It~~
                                                                 Claim          of Total Claim
                                                                                         ......,,                                   Creditor

ADOR (general)                                        1-1              893.29           0.08%         48,884.53             38.63    0.0034%
TBF Financial                                        2-1            42,647.90           3.77%         48,884.53          1,844.40    0.1632%
IRS (general)                                        3-1            45,009.88           3.98%         48,884.53          1,946.55    0.1722%
American Express                                     4-1             1,500.00           0.13%         48,884.53             64.87    0.0057%
Progressive Preferred Ins.                           5-1           107,896.55           9.55%         48,884.53          4,666.21    0.4128%
Industrial Comm of AZ                                6-2           421,635.45          37.30%         48,884.53         18,234.52    1.6132%
United States Trustee                                7-1             5,226.11           0.46%         48,884.53            226.01    0.0200%
Faez Mona/All Interstate                             8-1           407,713.53          36.07%         48,884.53         17,632.43    1.5599%
Eastern Funding                                      11-1           96,448.70           8.53%         48,884.53          4,171.13    0.3690%
Cellco PannershipNerizon                             12-1            1,382.20           0.12%         48,884.53             59.78    0.0053%



                                                                                                                                           - J
T OTALS                                                                                                               $48,884.53       4.32%
                                                                                                                                               1




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                                              Charity T owing
                                                   USBC
                              Pro Rata Share for Unsecured C r editors in Class 9
                                                  Month 5


Creditor                              Claim       Amount of         Percentage Total Monthly
Name                                   No.         Claim          of Total Claim Pay~
C::'"                                                                    '          ·"""
ADOR (general)                          ] -1             893.29         0.08%          330.00      0.26
T BF Financial                         2-1            42,647.90         3.77%          330.00     12.45
IRS (general)                           3-1           45,009.88         3.98%          330.00     13.14
American Express                        4-1            1,500.00         0.13%          330.00      0.44
Progressive Preferred Ins.             5-1           107,896.55         9.55%          330.00     31.50
Industrial Comm of AZ                  6-2           421,635.45        37.30%          330.00    123.09
United States Trustee                  7-1             5,226.11         0.46%          330.00      1.53
Faez Mona/All Interstate               8-1           407,713.53        36.07%          330.00    119.03
Eastern Funding                        11-1           96,448.70         8.53%          330.00     28.16
Cellco PartnershipNerizon              12-1            1,382.20         0.12%          330.00      0.40




                                                                                                $330.00




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                                            Charity Towing
                                                USBC
                            Pro Rata Share for Unsecured Creditors in Class 9
                                          Months 6 through 8




                                      2-1          42,647.90        3.77%       865.00    32.64
                                     3-1           45,009.88        3.98%       865.00    34.44
                                      4-1           1,500.00        0.13%       865.00     1.15
                                     5-1          107,896.55         9.55%      865.00    82.57
                                     6-2          421,635.45       37.30%       865.00   322.66
United States Trustee                 7-1           5,226.11        0.46%       865.00     4.00
Faez Mona/All Interstate             8-1          407,713.53       36.07%       865.00   312.00
Eastern Funding                      11-1          96,448.70        8.53%       865.00    73.81
Cellco PartnershipNerizon            12-1           1,382.20        0.12%       865.00     1.06




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                                             Charity Towing
                                                 USBC
                             Pro Rata Share for Unsecured Creditors in Class 9
                                                 Month9




                                       1-1                           0.08%
                                      2-1           42,647.90        3.77%       957.00    36.11
                                      3-1           45,009.88        3.98%       957.00    38.11
American Express                      4-1            1,500.00        0.1 3%      957.00     1.27
Progressive Preferred Ins.            5-1          107,896.55        9.55%       957.00    91.35
Industrial Comm of AZ                 6-2          421,635.45       37.30%       957.00   356.97
United States Trustee                 7-1            5,226.11        0.46%       957.00     4.42
Faez Mona/All Interstate              8-1          407,713.53       36.07%       957.00   345.19
Eastern Funding                       11-1          96,448.70        8.53%       957.00    81.66
Cellco PartnershipNerizon             12-1           1,382.20        0.12%       957.00     1.17




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                                                  Cha rity Towing
                                                      USBC
                                  Pro Rata Share for Unsecured Creditors in Class 9
                                                     Month 10




                                           1-1
TBF Financial                              2-1           42,647.90        3.77%        65.27
IRS (general)                              3-1           45,009.88        3.98%        68.89
American Express                           4-1            1,500.00        0.13%         2.30
Progressive Preferred Ins.                 5-l          107,896.55        9.55%       165.14
Industrial C'.omm of AZ                     6-2         421,635.45       37.30%       645.31
United States Trustee                      7-1            5,226.11        0.46%         8.00
Faez Mona/All Interstate                   8-1          407,713.53       36.07%       624 .00
Eastern Funding                            11-1          96,448.70        8.53%       147.61
Cellco PartnershipNerizon                  12-1           1,382.20        0.12%         2.12




                             .·




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                                             Charity Towing
                                                  USBC
                             Pro Rata Share for Unsecured Creditors in Class 9
                                          Months 11 through 18




                                                       893.29        0.08%
                                      2-1           42,647.90        3.77%       740.00    27.92
                                      3-1           45,009.88        3.98%       740.00    29.47
                                      4-1            1,500.00        0.13%       740.00     0.98
                                      5-1          107,896.55        9.55%       740.00    70.64
                                      6-2          421,635.45       37.30%       740.00   276.03
United States Trustee                 7-1            5,226.11        0.46%       740.00     3.42
Faez Mona/All Interstate              8-1          407,713.53       36.07%       740.00   266.91
Eastern Funding                       11-1          96,448.70        8.53%       740.00    63.14
Cellco PartnershipNerizon             12-1           1,382.20        0.12%       740.00     0.90




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                                             Charity Towing
                                                 USBC
                             Pro Rata Share for Unsecured Creditors in Class 9
                                          Months 19 through 21




                                       1-1             893.29        0.08%       622.00     0 .49
TBF Financial                         2-1           42,647.90        3.77%       622.00    23.47
IRS (general)                         3-1           45,009.88        3.98%       622.00    24.77
American Express                      4-1            1,500.00        0.13%       622.00     0 .83
Progressive Preferred Ins.            5-1          107,896.55        9.55%       622.00    59.37
Industrial Comm of AZ                 6-2          421,635,45       37,30%       622.00   232.01
United States Trustee                 7-1            5,226.11        0.46%       622.00     2.88
Faez Mona/All Interstate              8-1          407,713.53       36.07%       622.00   224.35
Eastern Funding                       11-1          96,448.70        8.53%       622.00    53.07
Cellco PartnershipNerizon             12-1           1,382.20        0.12%       622.00     0.76




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                                             Cha rity Towing
                                                 USBC
                             Pro Rata Share for Unsecured Creditors in Class 9
                                          Months 22 through 32




                                                       893.29                    583.00
TBF Financial                         2-1           42,647.90        3.77%       583.00    22.00
IRS (general)                         3-1           45,009.88        3.98%       583.00    23.21
American Express                      4-1            1,500.00        0.13%       583.00     0.77
Progressive Preferred Ins.            5-1          107,896.55         9.55%      583.00    55.65
Industrial Comm of AZ                 6-2          421,635.45       37.30%       583.00   217.47
United States Trustee                 7-1            5,226.11        0.46%       583.00     2.70
Faez Mona/All Interstate              8-1          407,713.53       36.07%       583.00   210.29
Eastern Funding                       11-1          96,448.70        8.53%       583.00    49.75
Cellco PartnershipNerizon             12-1           1,382.20        0.12%       583.00     0.71




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                                             Charity Towing
                                                  USBC
                             Pro Rata Share for Unsecured Creditors in Class 9
                                          Months 33 through 37


                                     Claim      Amount of         Percentage Total Monthly
                                                  Claim         of Total Claim  Payment
                                                                              '
ADOR (general)                        1-1              893.29         0.08%        449.00      0.35
TBF Financial                         2-1           42,647.90         3.77%        449.00     16.94
IRS (general}                         3-1           45,009.88         3.98%        449.00     17.88
American Express                      4-1            1,500.00         0.13%        449.00      0.60
Progressive Preferred Ins.             5-1         107,896.55         9.55%        449.00     42.86
Industrial Comm of AZ                  6-2         421,635.45        37.30%        449.00    167.48
United States Trustee                 7-1            5,226.11         0.46%        449.00      2.08
Faez Mona/All Interstate               8-1         407,713.53        36.07%        449.00    161.95
Eastern Funding                       11-1          96,448.70         8.53%        449.00     38.31
Cellco PartnershipNerizon             12-1           1,382.20         0.12%        449.00      0.55




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                                             Charity Towing
                                                  usnc
                             Pro Rata Share for Unsecured Creditors in Class 9
                                                 Month38




TBF Financial                         2-1           42,647.90        3.77%       448.92    16.94
IRS (general)                         3-1           45,009.88        3.98%       448.92    17.88
American Express                      4-1            1,500.00        0.13%       448.92     0.60
Progressive Preferred Ins.            5-1          107,896.55        9.55%       448.92    42.85
industrial Comm of AZ                 6-2          421,635.45       37.30%       448.92   167.45
United States Trustee                 7-1            5,226.11        0.46%       448.92     2.08
Faez Mona/All Interstate              8-1          407,713.53       36.07%       448.92   161.92
Eastern Funding                       11-1          96,448.70        8.53%       448.92    38.30
Cellco PartnershipNerizon             12-1           1,382.20        0.12%       448.92     0.55




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                                             Charity Towing
                                                  USBC
                             Pro Rata Share for Unsecured Creditor s in Class 9
                                                Month39


                                                Amount of        Percentage Total Monthly
                                                  Claim         of Total Claim Payment

ADOR (general)                        1-1              893.29         0.08%        232.00    0.18
TBF Financial                         2-1           42,647.90         3.77%        232.00    8.75
IRS (genera I)                        3-1           45,009.88         3.98%        232.00    9.24
American Express                      4-1            1,500.00         0.13%        232.00    0.31
Progressive Preferred Ins.            5-1          107,896.55         9.55%        232.00   22.15
Industrial Comm of AZ                 6-2          421,635.45        37.30%        232.00   86.54
United States Trustee                 7-1            5,226.11         0.46%        232.00    1.07
Faez Mona/All Interstate              8-1          407,713.53        36.07%        232.00   83.68
Eastern Funding                       11-1          96,448.70         8.53%        232.00   19.80
Cellco PartnershipNerizon             12-1           1,382.20         0.12%        232.00    0.28




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                                               Charity Towing
                                                   USBC
                              Pro Rata Share for Unsecured Creditors in Class 9
                                                  Month40

~~-- ~~:a:~~~~*~~,~~~~~~~,·~~~-~
Creditor
Name

                                       1-1              893.29        0.08%       423.00     0.33
                                       2-1           42,647.90        3.77%       423.00    15.96
                                       3-1           45,009.88        3.98%       423.00    16.84
American Express                        4-1           1,500.00        0.13%       423.00     0.56
Progressive Preferred Ins.             5-1          107,896.55        9.55%       423.00    40.38
Industrial Comm of AZ                  6-2          421,635.45       37.30%       423.00   157.78
United States Trustee                  7-1            5,226.11        0.46%       423.00     1.96
Faez Mona/All Interstate               8-1          407,713.53       36.07%       423.00   152.57
Eastern Funding                        11-1          96,448.70        8.53%       423.00    36.09
Cel\co PartnershipNerizon              12-1           1,382.20        0.12%       423.00     0.52




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                                              Charity Towing
                                                   USBC
                              Pro Rata Share for Unsecured Creditors in Class 9
                                                  Month41




ADOR (general)                         1-1              893.29                    2,620.51
TBF Financial                          2-1           42,647.90        3.77%       2,620.51    98.87
IRS (general)                          3-1           45,009.88        3.98%       2,620.51   104.35
American Express                       4-1            1,500.00        0.13%       2,620.51     3.48
Progressive Preferred Ins.             5-l          107,896.55        9.55%       2,620.51   250.14
Industrial Comm of AZ                  6-2          421,635.45       37.30%       2,620.51   977.48
United States Trustee                   7-1           5,226.11        0.46%       2,620.51    12.12
Faez Mona/ All Interstate              8-1          407,713.53       36.07%       2,620.51   945.21
Eastern Funding                        11-1          96,448.70        8.53%       2,620.51   223.60
Cellco Partnership/Verizon             12-1           1,382.20        0.12%       2,620.51     3.20




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                                                                     Charity Towing
                                                                         USBC
                                                     Pro Rata Share for Unsecured Creditors in Class 9
                                                                        Month42



Name
~r.>·
  ~--     -''"""""::'~~;   i:'.'i4 '!'   .:m~~   .
ADOR (general)
TBF Financial                                                 2-1           42,647.90        3.77%         224.96
IRS (general)                                                 3-1           45,009.88        3.98%         237.42
American Express                                              4-1            1,500.00        0.13%           7.91
Progressive Preferred Ins.                                    5-1          107,896.55        9.55%         569.14
Industrial Comm of AZ                                         6-2          421,635.45       37.30%       2,224.08
United States Trustee                                         7-1            5,226.11        0.46%          27.57
Faez Mona/All Interstate                                      8-1          407,713.53       36.07%       2,150.65
Eastern Funding                                               11-1          96,448.70        8.53%         508.76
Cellco PartnershipNerizon                                     12-1           1,382.20        0.12%           7.29




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                                              Charity Towing
                                                   USBC
                              Pro Rata Share for Unsecured Cr editors in Class 9
                                                  Month 43


                                                 Amount of       Percentage    Total Monrbly Amount to be paid
~~~~~~~~~·~-.-~~~~~~~~~----~~----~
                                 of~T
                                    ~o~~~I~C~
                                            la.im                                  Payme~! ~M
                                                                                            ~ on_t~
                                                                                                  h~4-
                                                                                                     3 ~~~~~~

ADOR (general)                          1-1             893.29         0.08%        6,219.00               4.91
TBF Financial                          2-1           42,647.90         3.77%        6,219.00             234.64
IRS (general)                          3-1           45,009.88         3.98%        6,219.00             247.64
American Express                        4-1           1,500.00         0.13%        6,219.00               8.25
Progressive Preferred Ins.             5-1          107,896.55         9.55%        6,219.00             593.63
Industrial Comm of AZ                  6-2          421,635.45        37.30%        6,219.00           2,319.76
United States Trustee                  7-1            5,226.11         0.46%        6,219.00              28.75
Faez Mona/All Interstate               8-1          407,713.53        36.07%        6,219.00           2,243.17
Eastern Funding                        11-1          96,448.70         8.53%        6,219.00             530.64
Cellco PartnershipNerizon              12-1           1,382.20         0.12%        6,219.00               7.60




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                                              Ch arity T owing
                                                   USBC
                              Pro Rata Share for Unsecured Creditor s in Class 9
                                                 Month 44

                                 ..
                                                 Amount of         Percentage Total Monthly Amount to be paid
                                                   Claim         of Total Claim Payment       in Month 44
                                                                                                                       j
ADOR (general)                          1-1             893.29          0.08%      6,269.50               4.95
TBF Financial                          2-1           42,647.90          3.77%      6,269.50             236.55
IRS (general)                          3-1           45,009.88          3.98%      6,269.50             249.65
American Express                       4-1            1,500.00          0.13%      6,269.50               832
Progressive Preferred Ins.             5-1          107,896.55          9.55%      6,269.50             598.45
Industrial Comm of AZ                  6-2          421,635.45         37.30%      6,269.50           2,338.60
United States Trustee                  7-1            5,226.11          0.46%      6,269.50              28.99
Faez Mona/All Interstate               8-1          407,713.53         36.07%      6,269.50           2,261.38
Eastern Funding                        11-1          96,448.70          8.53%      6,269.50             534.95
Cellco PartnershipNerizon              12-1           1,382.20          0.12%      6,269.50               7.67




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                                               Cha rity Towing
                                                    USBC
                               Pro Rata Share for Unsecured Creditors in Class 9
                                                  Month4S


'Creditor                              Claim      Amount of                                   Amount to be paid
                                                   Claim                                        in Month 45

ADOR (general)                          1-1              893.29        0.08%       4,653.10                3.68
TBF Financial                           2-1           42,647.90        3.77%       4,653.10              175.56
IRS (general)                           3-1           45,009.88        3.98%       4,653.10              185.28
American Express                        4-1            1,500.00        0.13%       4,653.10                6.17
Progressive Preferred Ins.              5-1          107,896.55        9.55%       4,653.10              444.16
Industrial Comm of AZ                   6-2          421,635.45       37.30%       4,653.10            1,735.66
United States Trustee                   7-1            5,226.11        0.46%       4,653.10               21.51
Faez Mona/All Interstate                8-1          407,713.53       36.07%       4,653.10            1,678.35
Eastern Funding                         11-1          96,448.70        8.53%       4,653.10              397.03
Cellco PartnershipNerizon               12-1           1,382.20        0.12%       4,653.10                5.69




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